Case 0:19-cv-61897-AHS Document 23 Entered on FLSD Docket 11/14/2019 Page 1 of 4




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA

  DISPLAY TECHNOLOGIES, LLC,            §
                                        §
  Plaintiff,                            §            Case No: 0:19-cv-61897-RS
                                        §
  vs.                                   §            PATENT CASE
                                        §
  KLIP XTREME, LLC,                     §            JURY TRIAL DEMANDED
                                        §
  Defendant.                            §
  _____________________________________ §

                   PLAINTIFF DISPLAY TECHNOLOGIES, LLC’s ANSWER TO
                        COUNTERCLAIMS OF KLIP XTREME, LLC

         Now comes Plaintiff, Display Technologies, LLC (“Display”), by and through the

  undersigned counsel and hereby respectfully submits its Answer to the Counterclaims asserted

  by Defendant, Klip Xtreme, LLC (“Klip”) in its Answer to Plaintiff’s Complaint (“Answer”).

                        KLIP XTREME, LLC’S COUNTERLCLAIMS

                                            PARTIES

         1.     Upon information and belief, Display admits paragraph 1 of Klip’s

  Counterclaims.

         2.     Display admits paragraph 2 of Klip’s Counterclaims.


                                        JURISDICTION

         3.     Display incorporates by reference herein its answers to paragraphs 1-2 above.

         4.     Display admits the allegations contained in paragraph 4 of Klip’s Counterclaims.

         5.     Display admits the allegations contained in paragraph 5 of Klip’s Counterclaims.

         6.     Display admits that venue is proper in this district. Display denies the remaining

         allegations contained in paragraph 6 of Klip’s Counterclaims.
Case 0:19-cv-61897-AHS Document 23 Entered on FLSD Docket 11/14/2019 Page 2 of 4




                                     COUNT I
                      DECLARATION REGARDING NON-INFRINGEMENT

          7.      Display incorporates by reference herein its answers to paragraphs 1-6 above.

          8.      Display admits that an actual controversy has arisen and now exists between

  Display and Klip regarding the infringement of U.S. Patent 9,300,723 (“the ‘723 Patent”).

          9.      Display denies the allegations contained in paragraph 9 of Klip’s Counterclaims.

          10.     Display denies the allegations contained in paragraph 10 of Klip’s Counterclaims.

          11.     Display admits that Klip seeks a declaratory judgment that it has not infringe the

  ‘723 Patent.


                                       COUNT II
                            DECLARATION REGARDING INVALIDITY

          12.     Display incorporates by reference herein its answers to paragraphs 1-11 above.

          13.     Display admits that an actual controversy has arisen and exists between the parties

  regarding the validity of the ‘723 Patent.

          14.     Display denies the allegations contained in paragraph 14 of Klip’s Counterclaims.

          15.     Display denies the allegations contained in paragraph 15 of Klip’s Counterclaims.

          16.     Display admits that Klip seeks a declaratory judgment that the ‘723 Patent is invalid.


                                          PRAYER FOR RELIEF

          To the extent that any response is required to the Prayer for Relief, Display denies that

  Klip is entitled to judgment or any of the relief it has requested.




                                                      2
Case 0:19-cv-61897-AHS Document 23 Entered on FLSD Docket 11/14/2019 Page 3 of 4




  Dated: November 14, 2019                 Respectfully submitted,

                                           /s/ Howard L. Wernow
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                                       3
Case 0:19-cv-61897-AHS Document 23 Entered on FLSD Docket 11/14/2019 Page 4 of 4




                                  CERTIFICATE OF SERVICE

  The undersigned certifies that all counsel of record who have consented to electronic service are
  being served with a copy of this document via the Court’s CM/ECF system per Local Rule CV-
  5(a)(3) on November 14, 2019.

                                                      /s/ Howard L. Wernow
                                                      Howard L. Wernow




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